                       IN THE UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF ALABAMA

IN RE:         BEVERLY S. HOYT                                     CHAPTER 13
               DEBTOR.                                             CASE NO. 17-33317

                     OBJECTION TO TRUSTEE’S MOTION TO DISMISS

Comes now the above listed Debtor and objects to the Trustee’s Motion to Dismiss. As
grounds Debtor states as follows:

1. Debtor passed away on 2/4/2019.

2. We will be meeting with the family soon to discuss her case.

3. Our office wishes for the case to remain active at this time.

Dated: March 8, 2019


                                             /s/ David Weston
                                             ______________________________________
                                             The Anderson Law Firm, LLC.
                                             David Weston-Attorney for Debtor
                                             7515 Halcyon Pte. Dr.
                                             Montgomery, AL 36117
                                             (334) 265-4477




                                  CERTIFICATE OF SERVICE

I hereby certify that I have served a copy of the foregoing motion on the Chapter 13 Trustee, via
electronic filing.

Dated: March 8, 2019

                                             /s/ David Weston
                                             ______________________________________
                                             The Anderson Law Firm, LLC.
                                             David Weston-Attorney at Law




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